Case 1:05-cv-01185-.]DT-STA Document 4 Filed 07/15/05 Page 1 of 3 Page|D 1

 

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-:.`:"[" !?j/ §
IN THE UNITED STATES DIS'I`RICT COURT `“~\_
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

WILLIAM McCUTCHEON, )
)
Plaintiff, )
)

VS. ) No. l-OS-llSS-T

) Jury Demanded
WAL-l\/IART STORES, INC., )
)
Defendant. )

ORDER FOR SI’ECIAL ADMISSION PR() HAC VICE

lt appears to the Cour‘t that defendant’s counsel, Greg Callavvay, has moved this Court for
special permission to practice pro hac vice in the United States District Coui‘t l`or the Western
District, Eastern Division of Tennessee in this case. ln accordance With Local Rule 83.1, movant
has submitted all required documentation and fees l`or pro hac vice Special admission, and that
said l\/lotion is Well taken and should be granted

lt is therefore OR])ERED that movant, Greg Callaway’S, l\/[otion is hereby granted and
that he is admitted for special practice pro¢l}ac vice for the above-captioned case.

IT is so oRDERED this § day 0 ,2005.

©a/Ma .M

u.s. B{STRICT COURT JUDGE

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':7 /

Greg/(taiiaway, No./i 8575
HOWELL & FISHER, PLLC
C ourt Square Building

300 J ames Robertson Parl<vvay
l\lashville, TN 37201-1107
615/244-3370

This document entered on the docket shea ln compliance
Attorn for W l-Mart Stores, lnc. é], E_Qj
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Case 1:05-cv-01185-.]DT-STA Document 4 Filed 07/15/05 Page 2 of 3 Page|D 2

CERTIFICA’_I`E OF SERV[CE

l certify that a copy of the foregoing vvas served via U.S. l\/lail postage prepaid upon Scott
G. Kirk, P.O. Box 182, 120 South Liberty, Jackson, TN 38301, on this l § day ofJuly, 2005.

F:»GW'C`HN|rt,juiclicon \.\"El.llam'-Grder |or Ai.tm:sslon or |"ro ||ac \\'iccwpd

DISTRICT C URT - WESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01185 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Greg Callavvay

HOWELL & FISHER, PLLC

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Nashville, TN 37201--1 10

Scott G. Kirk

LAW OFFICE OF GEORGE L. l\/IORRISON7 111
P.O. Box 182

.lacl<son7 TN 3 8302--018

Honorable .l ames Todd
US DISTRICT COURT

